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EXHIBIT 4
Case 2:10-cv- -
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March 12, 2004

Mr. and Mrs. Michael Dupree, Sr.

55 Martell
Bloomfield Hills, Mi 48304

Dear Mr. and Mrs. Dupree and Michael:

As you know from our conversations, Michael came before the Conduct Review Board to
explain the reason for having & pipe {designed for the use of substances) in his book bag while
at this school. He knows that possessing this type of material violates major school rules,
(please refer to page 72 of the Community Handbook), Michael explained that he was holding
onto the pipe for a friend and that he had planned on retuming it to his friend tater that day after

Micheel's choice of conduct Is unsettling - he informed the committee that he has leerned a
great deal from this and that It Is his desire to complete his senior year and eam a diploma from

4. Michael is being placed on Conduct Probation unt June 4, 2004. Should Michael
violate any major school rule or accumulate a series of minor rule violations, he woukl
come before the committee again and could be dismissed from the school.
:2, Michael must arrange for substance assessment with an outside resource — the results
of this assessment must be shared with a Dean or with one of our school counselors.
This action will help Michael to better frame his behavior and to make choices that are
more responsible and appropriate.
$. Michael is being suspended for three school days — March 11, 12 and 15. He may not
retum to school unt Monday, March 45 to attend a 4:00 pm staffing held In the
academic dean's office.
~ 4, Michael is unable to have guest privileges in the reskience hells for the duration of his

conduct

him: he needs only to respond completely to them and decide that it Is time at last to focus of
thé remaining manths of school and to complete them in top form. Please call me with eny
questions you may have.

Sincerely,

John J. Winter
Dean of Boys

cc. Charles Shaw
Sharon Peacock
Arlyce Selbert
James Pickett
Del Walden

CBo00025
